Case 0:22-cv-61704-DMM Document 67 Entered on FLSD Docket 09/06/2023 Page 1 of 2
     USCA11 Case: 23-12601 Document: 5 Date Filed: 09/05/2023 Page: 1 of 2


                           UNITED STATES COURT OF APPEALS
                              FOR THE ELEVENTH CIRCUIT
                              ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                            56 Forsyth Street, N.W.
                                            Atlanta, Georgia 30303


  David J. Smith                                                                     For rules and forms visit
  Clerk of Court                                                                     www.ca11.uscourts.gov


                                         September 05, 2023                                     JG
  Clerk - Southern District of Florida
  U.S. District Court                                                             Sep 5, 2023
  400 N MIAMI AVE
  MIAMI, FL 33128-1810
                                                                                                    MIAMI
  Appeal Number: 23-12601-F
  Case Style: Nadejda Jastrjembskaia v. inCruises, LLC, et al
  District Court Docket No: 0:22-cv-61704-DMM

  The enclosed copy of the Clerk's Order of Dismissal for failure to prosecute in the above
  referenced appeal is issued as the mandate of this court. See 11th Cir. R. 41-4.

  Any pending motions are now rendered moot in light of the attached order.

  Clerk's Office Phone Numbers
  General Information: 404-335-6100          Attorney Admissions:         404-335-6122
  Case Administration: 404-335-6135          Capital Cases:               404-335-6200
  CM/ECF Help Desk: 404-335-6125             Cases Set for Oral Argument: 404-335-6141

  Enclosure(s)




                                                                 DIS-2 Letter and Entry of Dismissal
Case 0:22-cv-61704-DMM Document 67 Entered on FLSD Docket 09/06/2023 Page 2 of 2
     USCA11 Case: 23-12601 Document: 5 Date Filed: 09/05/2023 Page: 2 of 2




                       IN THE UNITED STATES COURT OF APPEALS
                              FOR THE ELEVENTH CIRCUIT

                                         ______________

                                         No. 23-12601-F
                                         ______________

  NADEJDA JASTRJEMBSKAIA,

                                                   Plaintiff - Appellant,

  versus

  INCRUISES, LLC,
  INGROUP INTERNATIONAL, LLC,
  f.k.a. inCruises International, LLC,

                                             Defendants - Appellees.
                       __________________________________________


                          Appeal from the United States District Court
                              for the Southern District of Florida
                       __________________________________________

  ORDER: Pursuant to the 11th Cir. R. 42-1(b), this appeal is DISMISSED for want of
  prosecution because the appellant Nadejda Jastrjembskaia failed to file a Transcript Order Form
  in this Court and failed to comply with the rules on Certificates of Interested Persons and
  Corporate Disclosure Statements within the time fixed by the rules.

  Effective September 05, 2023.

                                        DAVID J. SMITH
                             Clerk of Court of the United States Court
                                of Appeals for the Eleventh Circuit

                                                          FOR THE COURT - BY DIRECTION
